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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

AHMED BAQER, et al.,           *
                  Plaintiffs;  *
                               *              DEMAND FOR JURY
                   v.          *
                               *              No.: 2:20-cv-00980-WBV-DPC
ST. TAMMANY PARISH GOVERNMENT, *              DISTRICT JUDGE:
et al.,                        *              WENDY B. VITTER
                Defendants.    *              SECTION “D”
                               *
                               *
                                              MAGISTRATE JUDGE:
                               *
                               *              DONNA PHILLIPS CURRAULT
                               *              SECTION “2”

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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

KEVIN LOUVIERE, et al.,        *
                  Plaintiffs;  *
                               *              DEMAND FOR JURY
                   v.          *
                               *              No.: 2:20-cv-01840-WBV-DPC
ST. TAMMANY PARISH GOVERNMENT, *              DISTRICT JUDGE:
et al.,                        *              WENDY B. VITTER
                Defendants.    *              SECTION “D”
                               *
                               *
                                              MAGISTRATE JUDGE:
                               *
                               *              DONNA PHILLIPS CURRAULT
                               *              SECTION “2”

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        PLAINTIFFS’ REQUEST FOR THE PRODUCTION OF DOCUMENTS

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        AND NOW come the Plaintiffs, AHMED BAQER; KLABERT JOSEPH GUILLOT, SR.;
KEVIN LOUVIERE; TERRY MATTHEW HALL, JR.; and FLOYD WILLIAMS; by and through
their counsel, THE GLORIOSO LAW FIRM; JACOB LITIGATION, INC.; and ROMANUCCI &
BLANDIN, LLC; to submit the following Request for the Production of Documents to the
Defendants, to respond to within 30 days, in accordance with Rule 34 of the Federal Rules of Civil
Procedure, and the enclosed definitions and instructions:

                                            Definitions

      “Allegation” shall mean the statement of any fact or claim in any original or amended
Complaint.

       “Complaint” shall mean the original or any amended Complaint.

       “Defendant” shall mean any/all present or former Defendants, and any employee,
representative, agent, or other person, acting on behalf of any present or former Defendant.

        “Document” shall have the broadest meaning possible, and include but not be limited to,
hardcopy or electronic format, audio and video recordings, email, voicemails, text messages, and
social media postings.

         “Identify,” when used in reference to a person, shall mean to provide a full legal name,
address, telephone number, email address, and role or affiliation. When used in reference to a legal
entity, shall mean to provide the full legal name, address, telephone number, and website. When used
in reference to a document, shall mean to provide the document name, name of author, date authored,
format type, and identity of custodian.

      “Incident” shall mean the circumstances that give rise to any claim stated in any original or
amended Complaint.

       “Plaintiff” shall mean any/all present or former Plaintiffs.

       “Person” shall include the singular and plural and shall include people and legal entities.

        “You” shall mean any/all present or former Defendants, and any employee, representative,
agent, or other person, acting on behalf of any present or former Defendant.

                                            Instructions

        In accordance with Federal Rules of Civil Procedure 26 and 34, you are required to respond
to this Request for the Production of Documents within thirty (30) days. In responding to the
document request, you must produce all documents that are available to you, which includes,
documents in the possession of your attorney, doctor, insurer, or any other agent or employee. A
consolidated response is permitted. However, if a document request calls for a response from a
specific Defendant (as opposed to all Defendants generally) an individual response must be provided
by that specific Defendant. If you are unable to respond to a document request completely, you are
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required to respond to the document request to the fullest extent possible, and then to explain why
you cannot respond to the document request completely.

                                       Document Requests

   1. The 2019 and 2020 training books discussed during the 30(b)(6) deposition (excerpt
below) and requested for production on 1/17/2023.

       for STPSO, Sgt. Lacey Joi Kelly-Robertson, Ind. and as Rep., (Pages 97:13 to 99:25)
                         97
       13      Q. I see. So what I'm hearing you say
       14 is that there's a uniform training program that
       15 each guard is put through?
       16       A. Correct.
       17       Q. And it's a book that is used, and
       18 it's signed off whether they -- how they
       19 performed and how they did?
       20       A. Correct.
       21       Q. So then you would be able to produce
       22 -- "you," the agency -- would be able to produce
       23 one of those blank books for the years 2019 and
       24 '20, correct?
       25       A. Yes.
                         98
       1      Q. All right. So -- and that would
       2 cover the complete training provided to the
       3 guards, correct?
       4      A. Correct.
       5      MR. JACOB:
       6          So I'm going to ask, Chad, if you
       7      guys would provide those blank training
       8      books for 2019 and 2020.
       9      MR. COLLINGS:
       10           We'll look into it.
       11       MR. JACOB:
       12           Thank you, sir.
       13 BY MR. JACOB:
       14       Q. And would that book relate to all of
       15 the policies that the agency wants to train
       16 internally?
       17       A. All of the policies?
       18       Q. Whatever they want to provide
       19 training for, I'm saying.
       20       A. I would have to look at it. Again,
       21 it's been a while.
       22       Q. Sure. Meaning there's no -- it's
       23 not like Book 1, Book 2, Book 3. There's a
                                                3
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      24 training book, and that's what is used?
      25       A. There's a -- there are different
                         99
      1 training books for different areas within
      2 corrections.
      3      Q. Okay.
      4      MR. JACOB:
      5           So then my request would be a little
      6      bit more specific for the training books
      7      related to the holding cell areas for the
      8      years 2019 and '20. And I'm -- what I'm
      9      -- just so we're clear on the record, I'm
      10       not asking for each guard's filled out
      11       one. I'm saying the training book that
      12       was used. So the blank one that was used
      13       for each of those years.
      14       MR. COLLINGS:
      15           We'll look into it. But I would
      16       suggest you might went to do a formal
      17       request for production because I don't
      18       want to get into a, well, we gave you
      19       this, but I wanted "X" instead of "Y." It
      20       might be better to do it in writing.
      21       MR. JACOB:
      22           It's very clear on the record. So,
      23       yes, the training book that is used for
      24       the holding cell areas for years 2019 and
      25       2020, please.


   2. The DOC inspection reports discussed during Major O’Keefe’s deposition (excerpt
below) and requested for production on 1/18/2023.

      O'Keefe, Jr., Major Richard, (Pages 39:17 to 40:14)
                         39
      17      Q. Okay. So, again, just to make sure
      18 I'm being fair here, with respect to the state
      19 and federal inspections that you recall
      20 occurring, while you're pretty certain that --
      21 excuse me -- the DOC inspected the DOC building
      22 and the feds inspected the fed building, you're
      23 not sure whether the inspection encompassed the
      24 rest of the jail?
      25      A. For the federal, I don't recall. My
                         40
      1 understanding of the DOC state inspection was the
      2 entire facility.
      3      Q. Was there a report generated as far
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       4 as the result of the inspections?
       5      A. I would imagine. I don't have it.
       6 But I think DPS or DOC, Department of
       7 Corrections, after they do it, they send it back
       8 to us, what areas we get approved in.
       9      Q. Okay.
       10      MR. JACOB:
       11          So I'm going to make a document
       12      request for the inspections around the
       13      time of these incidents, that they be
       14      produced.


Respectfully Submitted,


s/ Devon M. Jacob                                               Date: June 2, 2023
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                                  CERTIFICATE OF SERVICE


       I hereby certify that on the date listed below, I served a copy of Plaintiff’s Requests for the
Production of Documents Addressed to the Defendants, via Email, to all counsel of record, via their
email address of record.



s/ Devon M. Jacob                                                   Date: June 2, 2023
DEVON M. JACOB, ESQUIRE
